                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


 U.S. VENTURE, INC.
 425 Better Way
 Appleton, WI 54915 ,                                  COMPLAINT

                        Plaintiff,                   Case No. 18-C-

 vs.

 PCBM MANAGEMENT COMPANY d/b/a
 COUNTRY MART
 1020 Country Lane i314
 Ishpeming, MI 49849

            and

 CATHY M. ARGALL
 1088 Highland Drive
 Ishpeming, MI 49849,

                        Defendants .



       Plaintiff, by its attorneys, Everson, Whitney, Everson &

Brehm,      s.c.,    pursuant to Fed. R. Civ. P. 15(a)(l)(b) and Civ. L.

R. 15, and as and for its Complaint against the defendants,

alleges and shows to the Court as follows:

                                     JURISDICTION'

       1.         Plaintiff, U.S. venture, Inc. ( "U.S. Venture" ) , is a

Wisconsin corporation, with a principal place of business

located at 425 Better way, Appleton, Wisconsin 54915, and is in

the business , among other things, petroleum and petroleum

products .
       2.         That the defendant, PCBM Management Company d/b/a

Country Mart ("PCBM") is a foreign corporation, with a principal

place of business located at 1020 Country Lane, Suite 314,

Ishpeming, Michigan.          The registered agent for service of



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process is Bradley Argall, 1020 Country Lane, Suite 314,
Ishpeming, Michigan.
     3.       Upon information and belief, the defendant , Cathy
Argall ( "Argall"), is an adult resident of the State of
Michigan, residing at 1088 Highland Drive, Ishpeming, Michigan
49849.
                             BREACH OF CONTRACT

     4.      On or about April 12, 2012, PCBM entered into a U.S.
Oil Retailer Supply Agreement ("Agreement") with U.S. Venture.
     5.      That PCBM received petroleum and petroleum products
pursuant to the Agreement .
     6.      That PCBM is in breach of contract as it has failed to
pay for the petroleum and petroleum products pursuant to the
Agreement.
     7.      That on April 12, 2012, Argall entered into and agreed
to a Personal Guarantee as to all debts, obligations and
liabilities of PCBM.
     8.      That as a result of the breach of contract U.S .
Venture has sustained damages which include but are not limited
to, rebates , lost profits , debranding costs in the amount of
$150,466.45.
     9.      That U.S. Venture has demanded payment from PCBM and
Argall.
     10 .    That to date , U. S. Venture has not received any
payment from defendants.




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     11.     That as Guarantor, Argall is obligated for any and all
debts, obligations and liabilities of PCBM pursuant to the
Personal Guaranty.
     12.     That to date, the amount due and owing to U.S. Venture
is $150,466.45, plus 18% interest pursuant to the Agreement.
     WHEREFORE, the plaintiff demands judgment against the
defendants as follows:
     a.      Money damages in the amount of $150,466.45;
     b.      All costs and disbursements including attorney fees
related to this action as provided by law;
     c.      Statutory interest at the highest legal rate;
     d.      Such other and further relief at law and equity as the
Court may deem proper.        .,1[,
     Dated November     ~2018~
                                      Todd c. Dickey
                                      Attorney Bar No: 1035361
                                      Attorney for Plaintiff
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